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                           UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

MICHELOB MALDONADO,

                       Plaintiff,

v.                                                            Case No: 6:19-cv-398-Orl-22GJK

COMPETITIVE EDGE GROUP, INC.
and FRED R. BOOTHBY,

                       Defendants.


                                             ORDER

       This cause is before the Court on the Renewed Joint Motion for Court Approval of

Settlement Agreement and for Order of Dismissal with Prejudice (Doc. No. 35) filed on

November 27, 2019.

       The United States Magistrate Judge has submitted an amended report recommending that

the Motion be GRANTED in part and DENIED in part.

       After an independent de novo review of the record in this matter, and noting that the

parties filed a Joint Notice of Non-Objection, the Court agrees entirely with the findings of fact

and conclusions of law in the Report and Recommendation.

       Therefore, it is ORDERED as follows:

       1.      The Amended Report and Recommendation filed December 4, 2019 (Doc. No.

39), is ADOPTED and CONFIRMED and made a part of this Order.

       2.      The Renewed Joint Motion for Court Approval of Settlement Agreement and for

Order of Dismissal with Prejudice is hereby GRANTED in part and DENIED in part.

       3.      The modification provision in paragraph sixteen of the Agreement (Doc. 35-1) is

hereby STRICKEN.
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       4.     The Court finds the Agreement as modified to be a fair and reasonable

compromise of a bona fide FLSA dispute.

       5.     The Court declines to reserve jurisdiction to enforce the settlement agreement.

       6.     This case is DISMISSED with prejudice.

       7.     The Clerk is directed to CLOSE the file.

       DONE and ORDERED in Orlando, Florida on December 10, 2019.




Copies furnished to:

Counsel of Record




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